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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             MACON DIVISION

FREDDIE LANDRUM and ANNIE              :
LANDRUM as the PARENTS and             :
ADMINISTRATORS of PHIL                 :
LANDRUM’S ESTATE,                      :
                                       :
      Plaintiffs,                      :
                                       :        No. 5:16‐CV‐525 (CAR)
v.                                     :
                                       :
OZARK MOTOR LINES, INC., and           :
THE TRAVELERS INDEMNITY                :
COMPANY,                               :
                                       :
      Defendants.                      :
                                       :

                        ORDER ON MOTION TO DISMISS

      Plaintiffs Freddie and Annie Landrum bring this action pursuant to the

Declaratory Judgment Act, 28 U.S.C. § 2201, to determine their rights and obligations

under an insurance policy issued to Defendant Ozark Motor Lines (“Ozark”) by

Defendant The Travelers Indemnity Company (“Travelers”).         Before the Court is

Defendant Ozark’s Motion to Dismiss. The Court has carefully considered the parties’

arguments and the relevant law, and finds Plaintiffs’ claim against Defendant Ozark is

not properly before this Court under Rule 12(b)(1). Accordingly, the Court GRANTS

Defendant Ozark’s Motion to Dismiss [Doc. 4].




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        In this declaratory judgment action, Plaintiffs allege a commercial automobile

liability policy issued by Defendant Travelers to Defendant Ozark provides coverage

for the death of their son, Phil Landrum, who drove tractor‐trailers for Defendant

Ozark.1 When Plaintiffs asserted claims for underinsured motorist benefits under the

policy, Defendant Travelers denied coverage on the grounds that Phil Landrum is not

an additional insured under the policy.2                   On October 28, 2016, Plaintiffs filed suit

against Defendant Travelers and Defendant Ozark.

        Defendant Ozark seeks dismissal from this lawsuit, contending the Court lacks

subject matter jurisdiction because no justiciable case or controversy exists between

Plaintiffs and Defendant Ozark. 3 Plaintiffs concede Defendant Ozark “may, in fact, be

correct” that no case or controversy exists but contend the parties should be allowed to

conduct discovery to determine whether Defendant Ozark has any interest in this

lawsuit.4 The Court agrees with Defendant Ozark.

        To establish a justiciable case or controversy, the party seeking a declaratory

judgment must show a substantial controversy between parties having adverse legal




1 Complaint, ¶ 15‐16 (Doc. 1‐2, p. 6).
2 Id. at ¶ 19 (Doc. 1‐2, p. 7).
3 Defendant Ozark originally sought dismissal for failure to state a claim. An argument that no justiciable

case or controversy exists, however, challenges a district court’s subject matter jurisdiction. GEICO Gen.
Ins. Co. v. Farag, 597 F. App’x 1053, 1057 (11th Cir. 2015) (unpublished decision) (citing U.S. Fire Ins. Co. v.
Caulkins Indiantown Citrus Co., 931 F.2d 744, 747 (11th Cir. 1991)).
4 Plaintiffs’ Response Brief [Doc. 9, p. 6].



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interests of sufficient immediacy and reality to warrant a declaratory judgment.5 Here,

the dispute—whether Phil Landrum is an additional insured under the policy—is only

between Plaintiffs and Defendant Travelers. No such dispute exists between Plaintiffs

and Defendant Ozark, the named insured.6 Accordingly, Plaintiffs fail to establish a

justiciable case or controversy with Defendant Ozark.

                                              CONCLUSION

        For the reasons set forth above, the Court HEREBY GRANTS Defendant Ozark’s

Motion to Dismiss [Doc. 4].

        SO ORDERED, this 8th day of June, 2017.

                                                    S/ C. Ashley Royal
                                                    C. ASHLEY ROYAL, SENIOR JUDGE
                                                    UNITED STATES DISTRICT COURT


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5 Maryland Cas. Co. v. Pacific Coal & Oil Co., 312 U.S. 270, 273, 61 S. Ct. 510, 512 (1941). See also Cardinal
Chem. Co. v. Morton Int’l, Inc., 508 U.S. 83, 95, 113 S. Ct. 1967, 1974 (1993) (explaining party seeking
declaratory judgment has burden of establishing justiciability).
6 Provident Life & Accident Ins. Co. v. Transamerica‐Occidental Life Ins. Co., 850 F.2d 1489, 1490‐91 (11th Cir.

1988) (explaining “[c]ourts have found the case or controversy requirement lacking . . . when the
defendant has no interest in the case” and “when no conflict exists in the case”).

                                                        3
